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                   UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF VIRGINIA
                          RICHMOND DIVISION


RE: Sean Christian Jones                                                  Case No. 18-35123

           AMENDED DIRECTIVE FOR VOLUNTARY PAYMENTS BY DEBTOR

        The debtors having filed a petition under Chapter 13, title 11 U.S.C. or converted this case

from Chapter 7;

        IT IS DIRECTED;

        That until further Directive from the Trustee, the debtor(s) shall pay to SUZANNE E. WADE,

TRUSTEE, P.O. BOX 983, Memphis Tennessee 38101-0983, $370.00 Monthly beginning August

2021.

        THIS DIRECTIVE IS ENTERED PURSUANT TO GENERAL ORDER NO. 04-1 OF THE

UNITED STATES BANKRUPTCY COURT.

Dated: July 22, 2021
                                             /S/Suzanne E. Wade
                                             Suzanne E. Wade, Trustee
                                             Eastern District of Virginia, Richmond Division


         The Trustee does hereby certify that a copy of this Directive was mailed to the debtor(s) on
the date above written.

                                             /S/Suzanne E. Wade
                                             Suzanne E. Wade, Trustee
